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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:01CR219
                              )
          v.                  )
                              )
HOWARD L. MARION,             )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motions

to reduce sentence (Filing Nos. 214 and 221), and the stipulation

of the parties (Filing No. 222).        Pursuant to the retroactive

amendment to the cocaine base guidelines, the defendant’s final

offense level is reduced from 38 to 36.           His criminal history

category remains at III.      The government and defense agree that

his sentence should be reduced to eighty-two (82) months

imprisonment, considering the prior computation of specific

offense characteristics, adjustments, and departures.

Accordingly,

           IT IS ORDERED:

           1) Said motions to reduce sentence are granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to eighty-two (82) months.

           2) The portion of defendant’s motion (Filing No. 214)

to appoint counsel is denied as moot.
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           3)   The conditions of supervised release entered in the

original judgment and committal order remain in full force and

effect.

           DATED this 2nd day of April, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
